Case 8:03-cv-03317-PJM Document 681 Filed 03/19/08 Page 1 of 5
Case 8:03-cv-03317-PJM Document679 Filed 03/14/2008 Page 1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
SOUTHERN DIVISION

FEDERAL TRADE COMMISSION,
Plaintiff,
ms Civil Action No, PJM 03-3317
AMERIDEBT, INC., et al.,

Defendants.

 

ORDER APPROVING SEPARATE SETTLEMENTS WITH VITO PIZZONIA AND
TIMOTHY MCCALLAN

The Emergency Motion by Receiver for Order Approving Separate Settlements with Vito
Pizzonia and Timothy McCallan (“Settlement Motion”) having been duly filed on March 7, 2008
by Robb Evans & Associates LLC as Receiver (“Receiver”) pursuant to this Court’s Preliminary
Injunction Order with Asset Freeze, Appointment of a Receiver, Repatriation of Assets, and
Other Equitable Relief dated April 20, 2005 (the “Preliminary Injunction Order”) and the
Stipulated Final Judgment and Permanent Injunction as to Defendants Debt Works, Inc. and
Andris Pukke filed May 17, 2006 (the “Final Judgment”); the Court having granted the
Receiver’s Motion for Order Shortening Time for Opposition to Emergency Motion by Receiver
for Order Approving Separate Settlements with Vito Pizzonia and Timothy McCallan (“Motion
to Shorten Time”) filed concurrently therewith as set forth in the Court’s Order entered March
11, 2008 (Document No. 676); the Settlement Motion having been duly served; no opposition to
the Settlement Motion having been timely filed pursuant to the deadline set under the Motion to

Shorten Time and the Court’s March 11, 2008 Order granting the Motion to Shorten Time; and

LAS 7297,165.1

 
Case 8:03-cv-03317-PJM Document 681 Filed 03/19/08 Page 2 of 5
Case 8:03-cv-03317-PJM Document679 Filed 03/14/2008 Page 2of5

the Court, having reviewed and considered the Settlement Motion and the pleadings and papers

filed in support thereof, and finding good cause to grant the Receiver’s Settlement Motion,

IT IS ORDERED that:

l. The notice provided by service of the Emergency Motion on the parties is
adequate and sufficient, and no further notice is necessary;

Zi The Settlement Motion is granted, and the Settlement Agreement with Vito
Pizzonia and the Settlement Agreement with Timothy McCallan, attached as Exhibits | and 2,
respectively, to the Declaration of Brick Kane filed in support of the Settlement Motion, are each
hereby approved: and

3, The Receiver is hereby authorized to enter into the Settlement Agreements with
Vito Pizzonia and Timothy MeCallan and to execute, acknowledge and deliver any and all
agreements, assignments, documents and instruments necessary or convenient to complete,

implement, effectuate and consummate the Settlement Agreements.

Dated: 3/14/c4

 

PETE. MESSITTE
United States District Judge

LAT 7297165, 1

bo
Case 8:03-cv-03317-PJM Document 681 Filed 03/19/08 Page 3 of 5

Case 8:03-cv-03317-PJM Document679 Filed 03/14/2008 Page 3 of 5

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on the 14th day of March 2008, a copy of the ORDER
APPROVING SEPARATE SETTLEMENT AGREEMENTS WITH VITO PIZZONIA AND
TIMOTHY MCCALLAN was served on the parties listed on the attached Service List in the

manner indicated.

/s/
Christina M. Carroll
McKENNA LONG & ALDRIDGE LLP
1900 K Street, N.W.
Washington, DC 20006
Telephone: (202) 496-7500
Fax: (202) 496-7756
E-mail: ccarroll@mekennalong.com

Attorneys for Robb Evans & Associates
LLC, Receiver

LA:17297165.1 3
Case 8:03-cv-03317-PJM Document 681 Filed 03/19/08 Page 4 of 5
Case 8:03-cv-03317-PJM Document679 Filed 03/14/2008 Page 4 of 5

SERVICE LIST

The following CM/ECF participants were served by electronic means on March 14, 2008:

Gary C. Adler - gadler(Moconnorhannan.com: jmurphy@oconnorhannan.com

Robert M .Adler - radler@oconnorhannan.com; jcomisiak@oconnorhannan.com:
jtowellf(@oconnorhannan.com

Allison Ilene Brown - aibrown(a'fic.gov

 

Ramona Dee Elliott - relliott(@fic.gov

Geoffrey Smith Irwin - gsirwinf@jonesday.com
Charles Kevin Kobbe - kevin. kobbe(@dlapiper.com

 

William N. Lobel - wlobel@irell.com
Glenn A. Mitchell - gamitchell@steinmitchell.com; abeato(@steinmitchell.com

Malini Mithal — mmithall@ftc.cov

 

Lucy Emily Morris - Imorris(@fte.gov

Kevyn D. Orr - korr(@jonesday.com

Jeffrey Mark Reisner - jreisner@irell.com

Sanford M. Saunders, Jr. - saunderss(@gtlaw.com

Roger Schlossberg - bkcreditor(@schlosslaw.com; rschlossberg(aischlosslaw.com
Mark David Taylor - taylor.mark(@arentfox.com

John Buchanan Williams - jbwillians(ejonesdayv.com; aypowell(@jonesday.com

 

The following non-CM/ECF participants were served by first-class mail, postage prepaid on
March 14, 2008:

John J. Locurto

Dara B. Oliphant

Unites States Department of Justice
PO Box 227

555 Fourth St. NW

Washington, DC 20044

Ellyn Garofalo, Esq. (Courtesy Copy)

Liner Yankelevitz Sunshine & Regenstreif, LLP
1100 Glendon Avenue, 14" Floor

Los Angeles, CA 90024-3503

(Counsel for Andris Pukke)

Michael Macco (Courtesy Copy)
Macco & Stern, LLP

135 Pinelawn Road, Suite 120 South
Melville, NY 11747

(Counsel for Vito Pizzonia)

LAI 7297165. 1
Case 8:03-cv-03317-PJM Document 681 Filed 03/19/08 Page 5of5
Case 8:03-cv-03317-PJM Document679 Filed 03/14/2008 Page5of5

Anthony A. Capetola (Courtesy Copy)
The Law Offices of Anthony A. Capetola
Two Hillside Avenue, Building C
Williston Park, NY 11596

(Counsel for Timothy MeCallan)

MN

LAN 7297165.
